                   Case 1:21-cv-02887-EGS Document 2 Filed 11/02/21 Page 1 of 1

                                                                                                                 CO-386
                                                                                                                 10/2018


                                   United States District Court
                                   For the District of Columbia
                                       )
GIFFORDS,                              )
                                       )
                                       )
                           Plaintiff   )                                       1:21-cv-02887
                                                             Civil Action No._______________________
                 vs
                                       )
NATIONAL RIFLE ASSOCIATION OF          )
AMERICA POLITICAL VICTORY FUND, et al. )
                                       )
                          Defendant    )


                                                 CERTIFICATE RULE LCvR 26.1

                                           GIFFORDS
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           GIFFORDS
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  None




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                                 /s/ Molly E. Danahy
                                                               _______________________________________
                                                               Signature

 DC Bar No. 1643411
________________________________________                       Molly E. Danahy
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               1101 14th St. NW
                                                               _______________________________________
                                                               Address

                                                               Washington DC, 20005
                                                               _______________________________________
                                                               City          State        Zip Code

                                                               (202) 736-2203
                                                               _______________________________________
                                                               Phone Number
